     Case 2:12-cv-00578-JCM-PAL Document 41 Filed 06/04/12 Page 1 of 12



 1   JON W. DAVIDSON (pro hac vice)
     TARA L. BORELLI (pro hac vice)
 2   PETER C. RENN (pro hac vice)
 3   SHELBI DAY (pro hac vice)
     LAMBDA LEGAL DEFENSE AND EDUCATION FUND, INC.
 4   3325 Wilshire Boulevard, Suite 1300
     Los Angeles, California 90010
 5   Email: jdavidson@lambdalegal.org
            tborelli@lambdalegal.org
 6          prenn@lambdalegal.org
 7          sday@lambdalegal.org
     Tel: 213.382.7600 | Fax: 213.351.6050
 8
     CARLA CHRISTOFFERSON (pro hac vice)
 9   DAWN SESTITO (pro hac vice)
     MELANIE CRISTOL (pro hac vice)
10
     RAHI AZIZI (pro hac vice)
11   O’MELVENY & MYERS LLP
     400 South Hope Street
12   Los Angeles, California 90071
     Email: cchristofferson@omm.com
13          dsestito@omm.com
            mcristol@omm.com
14
            razizi@omm.com
15   Tel: 213.430.6000 | Fax: 213.430.6407

16   KELLY H. DOVE (Nevada Bar No. 10569)
     MAREK P. BUTE (Nevada Bar No. 09989)
17   SNELL & WILMER LLP
     3883 Howard Hughes Parkway, Suite 1100
18   Las Vegas, Nevada 89169
19   Email: kdove@swlaw.com
            mbute@swlaw.com
20   Tel: 702.784.5200 | Fax: 702.784.5252

21   Attorneys for Plaintiffs
22                              UNITED STATES DISTRICT COURT
23                                  DISTRICT OF NEVADA
24   BEVERLY SEVCIK and MARY                   No. 2:12-CV-00578-RCJ-PAL
25   BARANOVICH; ANTIOCO CARRILLO
     and THEODORE SMALL; KAREN                 PLAINTIFFS’ MEMORANDUM OF
26   GOODY and KAREN VIBE; FLETCHER            POINTS AND AUTHORITIES IN
     WHITWELL and GREG FLAMER;                 OPPOSITION TO DEFENDANTS’
27   MIKYLA MILLER and KATRINA                 MOTION TO DISMISS
     MILLER; ADELE TERRANOVA and
28   TARA NEWBERRY; CAREN
     Case 2:12-cv-00578-JCM-PAL Document 41 Filed 06/04/12 Page 2 of 12



 1   CAFFERATA-JENKINS and FARRELL
     CAFFERATA-JENKINS; and MEGAN
 2   LANZ and SARA GEIGER,
 3                          Plaintiffs,
 4          v.
 5
     BRIAN SANDOVAL, in his official capacity
 6   as Governor of the State of Nevada; DIANA
     ALBA, in her official capacity as Clerk for
 7   Clark County; AMY HARVEY, in her
     official capacity as Clerk for Washoe
 8   County; and ALAN GLOVER, in his official
     capacity as Clerk-Recorder for Carson City,
 9

10                          Defendants

11

12                                            INTRODUCTION
13          Plaintiffs are eight loving same-sex couples who have committed their lives to each other.
14   (Compl. at ¶¶ 50-73.) All of them support and care for each other through life’s joys and
15   challenges and many are nurturing and rearing children together. Plaintiffs bring this suit because
16   each wishes to marry his or her cherished life partner or to have his or her valid marriage from
17   another jurisdiction recognized as a marriage in Nevada. (Compl. at ¶¶ 24, 29-32.) Plaintiffs
18   Beverly Sevcik and Mary Baranovich, for example, are both in their seventies and yet they
19   remain unable to celebrate a single wedding anniversary, despite over four decades of love and
20   commitment.
21          Civil marriage plays a singular role in society as the universally recognized and celebrated
22   hallmark of a couple’s commitment to build family life together. Though Plaintiffs have formed
23   enduring family bonds equally worthy of the respect afforded to different-sex couples through
24   marriage, the state has foreclosed from them from the honored designation of marriage and
25   relegated them instead to the inferior and novel status of registered domestic partnership. Even
26   while consigning same-sex couples to a second-class status, however, the State has acknowledged
27   that no governmental interest exists in treating same-sex couples differently with respect to the
28   rights and responsibilities of spouses, given that it affords “the same” rights and responsibilities to


                                                     -2-
     Case 2:12-cv-00578-JCM-PAL Document 41 Filed 06/04/12 Page 3 of 12



 1   registered domestic partners. Nev. Rev. Stat. § 122A.200.
 2          Ruling in a similar context—and relying significantly on California’s provision of the
 3   same rights and responsibilities to registered same-sex domestic partners while excluding them
 4   from marriage—the Ninth Circuit recently overturned California’s state constitutional amendment
 5   (commonly referred to as Proposition 8) prohibiting marriage for same-sex couples. Perry v.
 6   Brown, 671 F.3d 1052 (9th Cir. 2012). Just as in Perry, Nevada’s exclusion of same-sex couples
 7   from marriage “serves no purpose, and has no effect, other than to lessen the status and human
 8   dignity of gays and lesbians in [Nevada], and to officially reclassify their relationships and
 9   families as inferior to those” of different-sex couples. Id. at 1063.
10                                     SUMMARY OF ARGUMENT
11          Plaintiffs allege that Defendants discriminate on the basis of sexual orientation and sex in
12   violation of federal guarantees of equal protection by denying same-sex couples the right to marry
13   and relegating them instead to the inferior and novel status of registered domestic partnership,
14   enacted in Nevada in 2009. Defendants Brian Sandoval and Alan Glover (collectively,
15   “Defendants”) move to dismiss for lack of subject matter jurisdiction, relying entirely on Baker v.
16   Nelson, 409 U.S. 810 (1972) (mem.), a nearly 40-year-old summary dismissal of claims by a
17   same-sex couple seeking to marry in early 1970s Minnesota.1 In short, Defendants contend that
18   Plaintiffs are not even entitled to judicial review—in this or in any other court—of the federal
19   constitutional questions they have presented because those questions have, supposedly, already
20   been answered.
21          Defendants neglect to acknowledge the limited reach of a summary dismissal—which
22   binds lower courts only on the precise questions presented in the statement of jurisdiction—and
23   the fact that this case presents entirely different questions from those considered in Baker. While
24          1
                     Baker arose from a suit filed in Minnesota state court by a same-sex couple
25   seeking the freedom to marry under the federal constitution. 191 N.W.2d 185, 186 (Minn. 1971).
     After the Minnesota Supreme Court rejected their claims, the couple appealed to the U.S.
26   Supreme Court pursuant to former 28 U.S.C. § 1257(2). Until 1988, this statute afforded the
     Supreme Court mandatory appellate jurisdiction for review of state supreme court decisions
27   adjudicating the constitutionality of a state law; the statute was subsequently replaced with review
     by writ of certiorari. The Supreme Court summarily dismissed the Minnesota couple’s appeal,
28   which was based solely on a claim of sex discrimination, “for want of substantial federal
     question.” 409 U.S. at 810.

                                                     -3-
     Case 2:12-cv-00578-JCM-PAL Document 41 Filed 06/04/12 Page 4 of 12



 1   the couple in Baker sought to marry in a state that afforded no relationship recognition to same-
 2   sex couples, the Ninth Circuit recognized in Perry that a very distinct question is raised where a
 3   state has disclaimed all conceivable rationales for treating same-sex couples differently by
 4   providing them the same rights and responsibilities as spouses through a legal status like
 5   Nevada’s registered domestic partnership. 671 F.3d at 1086 (holding that purported child-related
 6   governmental rationales are not served by state constitutional amendment excluding same-sex
 7   couples from marriage because state law already affords such couples “identical rights with
 8   regard to forming families and raising children”). Baker thus has no application here. Moreover,
 9   Baker did not even address a claim for violation of equal protection on the basis of sexual
10   orientation, a central contention in the complaint in this case. (Compl. at ¶¶ 86-103.) Finally,
11   even assuming arguendo that Baker presented the same precise challenges asserted in this case,
12   which it did not, subsequent doctrinal developments have extinguished any precedential force
13   Baker may once have had. The complaint clearly presents a substantial federal question which
14   should be resolved on the merits.
15                                              ARGUMENT
16          Defendants cannot overcome the high hurdle necessary to warrant dismissal of Plaintiffs’
17   federal equal protection claim for lack of a substantial federal question. Dismissal on this basis is
18   reserved to claims “so attenuated and unsubstantial as to be absolutely devoid of merit, wholly
19   insubstantial, obviously frivolous, plainly unsubstantial, or no longer open to discussion.”
20   Hagans v. Lavine, 415 U.S. 528, 536-37 (1974) (internal quotations and citations omitted). A
21   claim is deemed “insubstantial” based on prior Supreme Court precedent only if “its unsoundness
22   so clearly results from the previous decisions of this court as to foreclose the subject and leave no
23   room for the inference that the question sought to be raised can be the subject of controversy.”
24   Id. at 538 (internal quotations and citations omitted). Baker’s 40-year-old summary dismissal did
25   not address specific claims in this case and has, in any event, been overtaken by dramatic
26   advances in constitutional doctrine; it therefore cannot foreclose the substantial claims at issue
27   here or their resolution by this Court.2
     2
28           Dismissal pursuant to Federal Rule of Civil Procedure 12(b)(1) for lack of subject matter
     jurisdiction, in contrast to dismissal pursuant Rule 12(b)(6) for failure to state a claim, precludes a

                                                     -4-
     Case 2:12-cv-00578-JCM-PAL Document 41 Filed 06/04/12 Page 5 of 12



 1   I.     BAKER V. NELSON DID NOT EXAMINE THE QUESTIONS POSED HERE, AND
            ANY LIMITED PRECEDENTIAL VALUE IT STILL MAY HAVE DOES NOT
 2          APPLY.
 3          A.      Summary Dismissals Reach No Further Than The Specific Issues In The
                    Statement Of Jurisdiction Reviewed By The Supreme Court.
 4

 5          Defendants fail to acknowledge the narrow precedential value of summary dismissals

 6   under the Supreme Court’s previously mandatory appellate jurisdiction. As a limited vehicle for

 7   resolving a case, a summary dismissal binds lower courts only on the precise issues presented in

 8   the statement of jurisdiction and in no way validates the reasoning of the underlying decision.

 9   Mandel v. Bradley, 432 U.S. 173, 176 (1977) (per curiam). A summary dismissal for want of a

10   substantial federal question issued without an opinion, such as in Baker, thus “is an affirmance of

11   the judgment only,” and “the rationale of the affirmance may not be gleaned solely from the

12   opinion below.” Id. (holding that the lower court erred in assuming that a summary dismissal

13   “adopted the reasoning as well as the judgment” of an underlying opinion). See also Fusari v.

14   Steinberg, 419 U.S. 379, 391 (1975) (Burger, C.J., concurring) (“When we summarily affirm,

15   without opinion … we affirm the judgment but not necessarily the reasoning by which it was

16   reached.”); Washington v. Confederated Bands & Tribes, 439 U.S. 463, 478 n.20 (1979) (noting

17   that a summary dismissal “does not, as we have continued to stress … necessarily reflect our

18   agreement with the opinion of the court whose judgment is appealed”). In fact, “upon fuller

19   consideration of an issue under plenary review, the Court has not hesitated to discard a rule which

20   a line of summary affirmances may appear to have established.” See Fusari, 419 U.S. at 392

21   (Burger, C.J., concurring) (collecting authorities).

22          Emphasizing the limited nature of this rule, Mandel clarified that a summary dismissal

23   “should not be understood as breaking new ground,” but instead as a decision specific “to the

24   particular facts involved.” Id. at 176. A summary dismissal accordingly does not “have the same

25
     decision on the merits. See Franklin v. Oregon, State Welfare Div., 662 F.2d 1337, 1343 (9th Cir.
26   1981) (holding that an important difference between dismissal for lack of jurisdiction versus
     failure to state a claim is that the former forecloses a judgment on the merits); see also Cook v.
27   Peter Kiewit Sons Co., 775 F.2d 1030, 1035 (9th Cir. 1985) (holding that District Court judge’s
     “dismissal for lack of subject matter jurisdiction” was “not a judgment on the merits, and he
28   retained no power to make judgments relating to the merits of the case”).


                                                     -5-
     Case 2:12-cv-00578-JCM-PAL Document 41 Filed 06/04/12 Page 6 of 12



 1   precedential value … as does an opinion of this Court after briefing and oral argument on the
 2   merits.” Washington, 439 U.S. at 478 n.20, citing Edelman v. Jordan, 415 U.S. 651, 671 (1974)
 3   (summary affirmances “are not of the same precedential value as would be an opinion of this
 4   Court treating the question on the merits”), overruled on other grounds by Will v. Mich. Dep’t of
 5   State Police, 491 U.S. 58 (1989). See also Richardson v. Ramirez, 418 U.S. 24, 83 n.27 (1974)
 6   (“summary affirmances are obviously not of the same precedential value as would be an opinion
 7   of this Court treating the question on the merits”).
 8          For these reasons, a summary dismissal for want of a substantial federal question binds
 9   lower courts based only on “the specific challenges presented in the statement of jurisdiction,”
10   and extends only to “prevent lower courts from coming to opposite conclusions on the precise
11   issues presented and necessarily decided by those actions.” Mandel, 432 U.S. at 176 (emphasis
12   added). The facts of Mandel are instructive on this point. Mandel involved a challenge to a
13   Maryland election law requiring the early submission of voter signatures by independent political
14   candidates to qualify for the ballot. Id. at 174. A lower court found the Maryland law
15   unconstitutional, believing itself to be bound by the Supreme Court’s summary affirmance in
16   Tucker v. Salera, 424 U.S. 959 (1976), aff'g 399 F. Supp. 1258 (E.D. Pa. 1975). Mandel, 432
17   U.S. at 175. The underlying case affirmed in Tucker had considered a similar Pennsylvania law
18   requiring early submission of signatures—but coupled with a 21-day limitation on the ability to
19   gather such signatures. Emphasizing the limited application of the Court’s summary decisions,
20   Mandel found this mere factual difference between the two laws—where one imposed a 21-day
21   limit for gathering signatures and one did not—sufficient to distinguish Tucker and render it non-
22   binding on the questions in Mandel. Id. at 176.
23          This was so even though the underlying opinion in Tucker had not relied on the 21-day
24   limitation to reach its decision, and found the law unconstitutional solely by virtue of its
25   requirement for early submission of signatures. Id. at 175 (stating that a summary affirmance
26   does not adopt the reasoning of the underlying opinion). Just as the summary affirmance in
27   Tucker did not bind the subsequent court in Mandel, the summary affirmance in Baker has no
28   application here. As described further below, the question in this case could not even have


                                                     -6-
     Case 2:12-cv-00578-JCM-PAL Document 41 Filed 06/04/12 Page 7 of 12



 1   “lurk[ed] in the record” in Baker, and lower courts can read no more into a summary dismissal
 2   “than was essential to sustain th[e] judgment.” Perry, 671 F.3d at 1082 n.14 (internal quotation
 3   marks omitted). Perry confirms that a context-specific equal protection question, such as the one
 4   Perry considered in California, is “a wholly different question” than was presented in Baker. Id.
 5   As explained below, this case too presents a question narrowly defined by Nevada’s particular
 6   legal landscape. Baker could not even have envisioned this question, given its summary
 7   dismissal 37 years before Nevada enacted the domestic partnership law central to this equal
 8   protection challenge.3
 9          B.      This Case Raises Questions That Baker Could Not Have Conceived, And
                    Certainly Did Not Decide.
10

11          Baker was decided on the basis of a dramatically different legal landscape, and as the
12   Ninth Circuit explained in Perry, this context is indispensable for defining the issue before the
13   Court. 671 F.3d at 1063-64.
14          When Baker was decided, neither Minnesota nor any other state in the nation provided
15   any formal statewide relationship recognition to same-sex couples.
16          Today, Nevada affords same-sex registered domestic partners virtually every state law
17   right and responsibility provided to spouses—just like California’s domestic partnership law that
18   shaped the Ninth Circuit’s review in Perry. Nev. Rev. Stat. § 122A.200, et seq. The Ninth
19   Circuit—deciding only the specific question before it—adapted its ruling to the context of
20   Proposition 8 in California as well as the particular equal protection problem created when a state
21   eliminates same-sex couples’ access to the honored designation of “marriage,” “while leaving in
22   place all of its incidents” for those who register as domestic partners. Perry, 671 F.3d at 1063.
23   The question decided by Perry therefore did not overlap with the question decided in Baker.
24          The issues before this Court are similarly shaped by the specific context of Nevada’s
25   domestic partnership law, which, as a matter of state policy, disavows any governmental interest
26   in treating same-sex couples differently with respect to the rights and responsibilities of spouses.
27   3
             While Plaintiffs do not suggest that any other state’s exclusion of same-sex couples from
28   marriage would survive constitutional review, this case calls into question only Nevada’s
     distinctive laws regarding same-sex relationships.

                                                    -7-
     Case 2:12-cv-00578-JCM-PAL Document 41 Filed 06/04/12 Page 8 of 12



 1   Plaintiffs accordingly raise only a narrow, tailored question: whether a law violates equal
 2   protection where it works “a singular and limited change” to a state constitution by removing
 3   from same-sex couples only “the right to have their committed relationships recognized … with
 4   the designation of ‘marriage,’” even while the state affords them “rights and responsibilities that
 5   are identical to those of married spouses and form an integral part of the marriage relationship.”
 6   Perry, 671 F.3d 1076. Baker could not even have imagined, let alone decided, this question.
 7          Moreover, Nevada’s context affects not only the narrow parameters of Plaintiffs’ claims,
 8   but also the Court’s analysis of any purported governmental interests. Based on the unique legal
 9   landscapes in California and Nevada, Perry forecloses certain governmental rationales here that
10   were accepted by the Minnesota Supreme Court in Baker. For example, where a state’s
11   restriction on marriage for same-sex couples has “no effect on the rights of same-sex couples to
12   raise children or on the procreative practices of other couples,” Perry establishes as a matter of
13   law that the restriction cannot be supported by governmental “interests in childrearing or
14   responsible procreation.” 671 F.3d at 1063. Nevada’s constitutional amendment similarly has no
15   effect on the state’s policy decision to afford same-sex registered domestic partners the same
16   rights and obligations with respect to their children. See Nev. Rev. Stat. § 122A.200(d).
17          Baker, in stark contrast, was decided at a time when Minnesota afforded no recognition to
18   same-sex parents or their relationships and thus confronted very different questions about
19   governmental interests. Compare Baker, 191 N.W.2d at 186 (discussing the institution of
20   marriage as “uniquely involving the procreation and rearing of children within a family”) with
21   Perry, 671 F.3d at 1086-89 (holding that Proposition 8 did not advance the asserted interests of
22   procreation and childrearing). While the underlying reasoning would not control this Court
23   regardless (Mandel, 432 U.S. at 176 (a summary dismissal “affirm[s] the judgment but not
24   necessarily the reasoning” below)), it is clear that Baker was decided in the context of arguments
25   about parenting that the Ninth Circuit forecloses here as a matter of law. Perry, 671 F.3d at 1063;
26   see also id. at 1082 n.14 (ruling that the specific context and history in California rendered Baker
27   inapplicable to the narrower questions before that Court).
28          Baker also did not present the sexual orientation discrimination question squarely posed in


                                                    -8-
     Case 2:12-cv-00578-JCM-PAL Document 41 Filed 06/04/12 Page 9 of 12



 1   Plaintiffs’ equal protection claim here. (Compl. at ¶¶ 86-103.) Baker’s jurisdictional statement
 2   specified that “[t]he discrimination in this case is one of gender,” focusing expressly on sex
 3   discrimination as the basis of the equal protection violation. See Jurisdictional Statement for
 4   Appellants at 16, Baker v. Nelson, No. 71-1027 (1972), attached as Exhibit A. While that issue is
 5   posed in this case as well (after intervening landmark doctrinal developments discussed below),
 6   Plaintiffs’ substantial federal claims of sexual orientation discrimination were not specifically
 7   presented in Baker and could not be foreclosed by the summary dismissal. See Mandel, 432 U.S.
 8   at 176.
 9             C.     State Marriage Laws Are Not Exempt From Federal Equal Protection
                      Requirements.
10
               Additionally, Baker and other authorities do not, as Defendants seem to suggest, exempt
11
     state marriage eligibility rules from federal guarantees of equal protection. (Mot. at 3-4.) Even if
12
     the underlying reasoning of the Minnesota Supreme Court’s decision in Baker had any relevance
13
     here, the Court in no way suggested that state statutes are immune from federal constitutional
14
     review, nor could they be, in light of the Supremacy Clause. 191 N.W.2d 185; U.S. Const., art.
15
     VI, cl. 2. While determinations of marital eligibility have traditionally been the province of the
16
     states and not the federal Congress, such state law rules are not immune from federal
17
     constitutional review. To the contrary, federal guarantees of equal protection set a floor below
18
     which no state’s family law may fall. See, e.g., Loving v. Virginia, 388 U.S. 1, 7 (1967)
19
     (declaring unconstitutional Virginia’s statutes criminalizing interracial marriage, overruling Pace
20
     v. Alabama, 106 U.S. 583 (1883) and noting that regardless of the state’s police power over
21
     marriage, the state could “not contend … that its powers to regulate marriage are unlimited
22
     notwithstanding the commands of the Fourteenth Amendment … in light of Meyer v. Nebraska,
23
     262 U.S. 390 (1923), and Skinner v. Oklahoma, 316 U.S. 535 (1942).”).4
24   4
             Contrary to Defendants’ claims (Mot. at 6), this case is manifestly different from
25   Hernstadt v. Hernstadt, 373 F.2d 316 (2d Cir. 1967). Plaintiffs do not ask this Court to intervene
     in an individual couple’s custody dispute, id. at 317, but rather whether the Fourteenth
26   Amendment permits a state to exclude an entire group of people from civil marriage along
     invidious lines of sexual orientation and sex discrimination. Cf. Loving, 388 U.S. at 2 (“This case
27   presents a constitutional question never addressed by this Court: whether a statutory scheme
     adopted by the State of Virginia to prevent marriages between persons solely on the basis of
28   racial classifications violates the Equal Protection and Due Process Clauses of the Fourteenth
     Amendment.”).

                                                     -9-
     Case 2:12-cv-00578-JCM-PAL Document 41 Filed 06/04/12 Page 10 of 12



 1   II.    EVEN IF BAKER WERE RELEVANT, SUBSEQUENT DEVELOPMENTS HAVE
            RENDERED IT NUGATORY.
 2

 3          Even if Baker were relevant to the question before this Court, subsequent developments in

 4   the law have vitiated the decision’s limited precedential force. When doctrinal developments

 5   have occurred, a summary dismissal even on the same precise question carries diminished

 6   precedential value. Hicks v. Miranda, 422 U.S. 332, 344 (1975); Perry, 671 F.3d at 1082 n.14

 7   (summary dismissals prevent lower courts from reaching different determinations on the precise

 8   issues presented and necessarily decided “except when doctrinal developments indicate

 9   otherwise”) (internal quotation marks omitted). In the nearly 40 years since the Supreme Court

10   summarily dismissed the Baker appeal, landmark developments have vastly changed the

11   constitutional landscape. Baker rejected the appellants’ sex discrimination claims before the

12   Supreme Court recognized that sex-based classifications require heightened scrutiny, Frontiero v.

13   Richardson, 411 U.S. 677, 688 (1973) (plurality opinion); before Romer v. Evans held that a bare

14   desire to harm gay people cannot constitute a legitimate government interest, 517 U.S. 620, 634-

15   35 (1996); and before Lawrence v. Texas established that lesbian and gay individuals have the

16   same liberty interest in private family relationships as heterosexuals, 539 U.S. 558, 578 (2003).5

17   Cf. Smelt v. County of Orange, 374 F. Supp. 2d 861, 873 (C.D. Cal. 2005), aff’d in part and

18   vacated in part on other grounds by 447 F.3d 673 (9th Cir. 2006) (“Doctrinal developments show

19   it is not reasonable to conclude the questions presented in the Baker jurisdictional statement

20   would still be viewed by the Supreme Court as ‘unsubstantial.’”); Garden State Equality v. Dow,

21   2012 N.J. Super. Unpub. LEXIS 360, at *10-20 (Feb. 21, 2012 opinion on motion to reconsider),

22   attached as Exhibit B. Additionally, a number of courts now have found that governmental

23   classifications based on sexual orientation warrant heightened judicial review under equal

24   protection analysis. See, e.g., Golinski v. United States Office of Pers. Mgmt., 824 F. Supp. 2d

25   968, 989-90 (N.D. Cal. 2012), appeal docketed, Nos. 12-15388, 12-15409 (9th Cir. Feb. 24,

26   2012); Perry v. Schwarzenegger, 704 F. Supp. 2d 921, 997 (N.D. Cal. 2011), aff’d on other
     5
27          Lawrence’s statement that it did “not involve whether the government must give formal
     recognition to any relationship” of same-sex couples if anything signals that the ultimate question
28   remains open and undecided; this statement would have been entirely unnecessary if the question
     already had been foreclosed by Baker. 539 U.S. at 578.

                                                   - 10 -
     Case 2:12-cv-00578-JCM-PAL Document 41 Filed 06/04/12 Page 11 of 12



 1   grounds, 671 F.3d 1052; In re Balas, 449 B.R. 567, 576-77 (C.D. Cal. Bankr. 2011).
 2          Defendants make the surprising assertion that since Baker “there has been no substantial
 3   federal question” about whether federal equal protection guarantees require any particular state to
 4   allow same-sex couples to marry, and that “[n]othing in the law … has altered this.” (Mot. at 6).
 5   The Ninth Circuit in fact has issued binding authority finding the opposite: under at least some
 6   circumstances, excluding same-sex couples from marriage does indeed violate federal equal
 7   protection guarantees. Perry, 671 F.3d at 1095. Given the tectonic shifts in constitutional
 8   jurisprudence regarding lesbians and gay men since Baker, and Perry’s confirmation that Baker
 9   does not foreclose all equal protection claims by same-sex couples seeking civil marriage—
10   particularly narrow, factually-limited claims such as those here—Plaintiffs should be permitted to
11   have their day in court.
12                                            CONCLUSION
13          For the forgoing reasons, Defendants’ motion to dismiss should be denied.
14          DATED: June 4, 2012.
15   LAMBDA LEGAL DEFENSE AND                        CARLA CHRISTOFFERSON (pro hac vice)
16   EDUCATION FUND, INC.                            DAWN SESTITO (pro hac vice)
                                                     MELANIE CRISTOL (pro hac vice)
17    /s/ Tara L. Borelli                            RAHI AZIZI (pro hac vice)
     JON W. DAVIDSON (pro hac vice)                  O’MELVENY & MYERS LLP
18   TARA L. BORELLI (pro hac vice)                  400 South Hope Street
     PETER C. RENN (pro hac vice)                    Los Angeles, California 90071
19
     SHELBI DAY (pro hac vice)
20   3325 Wilshire Boulevard, Suite 1300
     Los Angeles, California 90010
21
     KELLY H. DOVE (Nevada Bar No. 10569)
22   MAREK P. BUTE (Nevada Bar No. 09989)
     SNELL & WILMER LLP
23
     3883 Howard Hughes Parkway, Suite 1100
24   Las Vegas, Nevada 89169

25   Attorneys for Plaintiffs
26

27

28


                                                  - 11 -
     Case 2:12-cv-00578-JCM-PAL Document 41 Filed 06/04/12 Page 12 of 12



 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that I will electronically file the foregoing with the Clerk of the Court for

 3   the United States District Court, District of Nevada by using the CM/ECF system on June 4,

 4   2012. All participants in the case are registered CM/ECF users, and will be served by the

 5   CM/ECF system.

 6

 7                                 By: /s/ Jamie Farnsworth
                                   Jamie Farnsworth
 8                                 3325 Wilshire Boulevard, Suite 1300
                                   Los Angeles, CA 90010
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                   - 12 -
